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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,                            Case No. 09-20215

               Plaintiff,                            HONORABLE SEAN F. COX
                                                     United States District Judge
v.

D-2 JOSE CASTRO-RAMIREZ,

            Defendant.
___________________________________/

                  ORDER REGARDING OBJECTIONS TO EXHIBIT LISTS
                    AND GRANTING DEFENDANT’S ORAL MOTION
                    FOR LEAVE TO FILE A LATE MOTION IN LIMINE

       Jury trial in this matter is scheduled to begin on February 16, 2010. Per the Court’s

“Order Regarding Trial” [Doc. No. 207], the parties were to file motions in limine no later than

February 10, 2010, to be argued before the Court on February 12, 2010. At the February 12,

2010 hearing, several issues were brought to the attention of the Court. Specifically, both parties

voiced objections to the opposing party’s proposed exhibit list. Defense counsel also asked for

leave to file a late motion in limine challenging the admissibility of several of the Government’s

proposed exhibits. In light of these developments, the Court ORDERS as follows:

       1. Defense counsel is GRANTED leave to file a late motion in limine challenging the
              admissibility of certain exhibits proposed by the Government. Such motion will
              be governed by the Court’s usual motion practice guidelines, and must be filed no
              later than Monday, February 15, 2010 at 10:00 am.

       2. Both parties are ORDERED to file, no later than Tuesday, February 16, 2010 at
              9:00 am, a brief memorandum outlining the basis for each objection that party
              has to the admission of exhibits proposed and listed on the opposing party’s
              exhibit list.

       IT IS SO ORDERED.

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                             s/Sean F. Cox
                             Sean F. Cox
                             United States District Judge

Dated: February 12, 2010

I hereby certify that a copy of the foregoing document was served upon counsel of record on
February 12, 2010, by electronic and/or ordinary mail.

                             s/Jennifer Hernandez
                             Case Manager




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